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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )           4:01CR238
                       Plaintiff,          )
                                           )
     vs.                                   )           ORDER
                                           )
DEVIN PEAK,                                )
                                           )
                  Defendant.               )


    IT IS ORDERED that a revocation hearing is set to commence at

2:30 p.m. on May 13, 2005 before the Hon. Richard G. Kopf, United

States District Judge, in Courtroom #1, United States Courthouse,

Lincoln, Nebraska.


     Dated:   May 10, 2005.


                             BY THE COURT

                             s/ David L. Piester


                             David L. Piester
                             United States Magistrate Judge
